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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

  NORDEA INVESTMENT MANAGEMENT
                                                            Civ. A. No. 3:18-CV-01681 (SRU)
  AB,

                   Plaintiffs,

            v.

  TEVA PHARMACEUTICAL INDUSTRIES
  LTD.; EREZ VIGODMAN; EYAL DESHEH;
  YAACOV ALTMAN; ALLAN OBERMAN; and
  SIGURDUR OLAFSSON,

                   Defendants.
                                                            October 16, 2019

                                     JOINT STATUS REPORT

         Pursuant to this Court’s November 5, 2018 Order (ECF No. 28), Plaintiff Nordea

 Investment Management AB and Defendants Teva Pharmaceutical Industries Limited (“Teva”),

 Erez Vigodman, Eyal Desheh, Yaacov Altman, Allan Oberman and Sigurdur Olafsson

 (collectively, the “Parties”) jointly submit this status report to the Court. The Parties state as

 follows:

         1.       This Action and 16 other direct and derivative actions pending in this District (the

 “Related Actions”) are related to the pending putative class action styled Ontario Teachers’

 Pension Plan Board, et al. v. Teva Pharmaceutical Industries Ltd., et al., Civil Action No. 3:17-

 cv-00558 (SRU) (the “Ontario Action”).

         2.       Per this Court’s November 5, 2018 Order (ECF No. 28), this Action was stayed

 pending a decision on the motions to dismiss filed by the defendants in the Ontario Action. The

 Order required the Parties to meet and confer within twenty-one (21) days of that decision, and




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 propose to the Court a schedule for further proceedings or a further deferment of or motion to stay

 proceedings. Id.

           3.       On September 25, 2019, this Court denied in substantial part the motions to dismiss

 of the majority of the defendants in the Ontario Action. (Ontario, ECF No. 283 (the “September

 25 Order”).) 1

           4.       In this Action and the other Related Actions, the parties are currently engaged in

 meet and confer discussions in an effort to reach an agreement respecting the coordination and

 scheduling of further proceedings in all cases that will enable this Court and the parties to manage

 the litigations in an efficient and streamlined manner.

           5.       The parties in the Ontario Action have conducted the first Rule 26(f) parties’

 planning conference, and are continuing to confer concerning the items in the Rule 26(f) report to

 be submitted to the Court.

           6.       With the Court’s permission, the Parties will submit another joint status update,

 including a proposal addressing further proceedings in this Action, by the later of November 6,

 2019 or two weeks after this Court enters a scheduling order in the Ontario Action.

                                                  Respectfully submitted,

     By: /s/ William H. Clendenen, Jr.                   By: /s/ Jill M. O’Toole
        William H. Clendenen, Jr. (ct04261 )                Jill M. O’Toole (ct27116)
        CLENDENEN & SHEA, LLC                               SHIPMAN & GOODWIN LLP
        400 Orange Street                                   One Constitution Plaza
        New Haven, CT 06511                                 Hartford, Connecticut 06103-1919
        Tel.: (203) 787-1183                                Tel.: (860) 251-5000
        Fax: (203) 787-2847                                 Fax: (860) 251-5218
        office@clenlaw.com                                  jotoole@goodwin.com



 1
  The September 25 Order granted in its entirety the motion to dismiss of Defendants Allan
 Oberman and Maureen Cavanaugh and directed the Clerk to terminate them as defendants in the
 Ontario Action.


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      Matthew L. Mustokoff (pro hac vice)        Jordan D. Hershman (pro hac vice)
      Geoffrey C. Jarvis (pro hac vice)          MORGAN, LEWIS & BOCKIUS LLP
      Michelle M. Newcomer (pro hac vice)        One Federal Street
      Jonathan F. Neumann (pro hac vice)         Boston, MA 02110-1726
      KESSLER TOPAZ MELTZER & CHECK,             Tel.: (617) 951-8000
      LLP                                        Fax: (617) 951-8736
      280 King of Prussia Road                   jordan.hershman@morganlewis.com
      Radnor, PA 19087
      Tel.: (610) 667-7706                       Counsel for Defendants
      Fax: (610) 667-7056
      mmustokoff@ktmc.com
      gjarvis@ktmc.com
      mnewcomer@ktmc.com
      jneumann@ktmc.com

      Counsel for Plaintiff




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